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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: SUBOXONE (BUPRENORPHINE
HYDROCHLORIDE AND NALAXONE)
ANTITRUST LITIGATION                                        MDLN0.2445
                                                            13-md-2445
THIS DOCUMENT APPLIES TO
ALL ACTIONS



                                            ORDER

       AND NOW, this 25th day of August, 2017, upon consideration of "Indivior Inc.'s

Motion to Temporarily Defer Depositions of Witnesses Who Intend to Assert Their Fifth

Amendment Rights" (Doc. No. 362), the responses and reply thereto and following a telephone

conference, I find as follows:

      1. Indivior, Inc. filed the instant motion seeking to "defer" the depositions of two former

          Indivior employees who have indicated, in light of a criminal investigation currently

          being conducted by the United States Department of Justice, that they will invoke

          their Fifth Amendment rights at any deposition conducted in the civil antitrust case

          pending before me. Indivior also seeks an order prohibiting any party in this case

          from noticing or subpoenaing for deposition any other witness who has stated a

          similar intent to invoke their Fifth Amendment rights. Plaintiff States, End Payor

          Plaintiffs and Direct Purchaser Plaintiffs oppose Indivior's motion. For the reasons

          that follow, Indivior's request will be granted in part and denied in part.

      2. In support of its motion, Indivior represents that since 2013, the DOJ has been

          investigating Indivior and several of its employees and former employees in

          connection with "every aspect of the distribution and marketing of Suboxone."


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   Indivior also states that it is "in discussions with the DOJ about a possible resolution"

   but that it cannot provide the Court with a timeframe in which that resolution may

   occur. (Indivior's Mot. p. 4.)

3. According to Indivior, it received from Plaintiffs a list of 20 Indivior employees and

   former employees Plaintiffs intend to depose. According to Indivior, independent

   counsel retained by 10 of those individuals has stated that their clients intend to

   invoke their Fifth Amendment rights if compelled to testify in the proceedings before

   me. Despite this knowledge, Plaintiffs have subpoenaed two such witnesses - -



4. Plaintiffs respond that the witnesses' blanket assertion of the Fifth Amendment is

   inappropriate and that Indivior seeks what amounts to an indefinite stay of

   depositions of crucial witnesses. Plaintiffs urge they will be unfairly prejudiced by

   Indivior's requests because the witnesses at issue likely possess information that will

   necessitate additional rounds of discovery from other sources.

5. To resolve this dispute, Plaintiff States suggest that I adopt the protocol the Court

   used in In re Vitamins Antitrust Litig., 2001 WL 34456773 (D.D.C. 2001). In that

   case, like the one before me, many of the current and former employees of the

   defendants that the plaintiffs sought to depose indicated that they intended to invoke

   their Fifth Amendment right against self-incrimination. In relevant part, the protocol

   the court crafted provided that, (1) after receiving a notice of deposition, any current

   or former employee of the defendants who intended to assert the Fifth Amendment

   would provide the plaintiffs' counsel an affidavit or declaration affirming that intent,

   or an analogous affidavit or declaration from his or her attorney; (2) the plaintiffs



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   would provide a list of written questions to each prospective witness; (3) at a

   deposition, the witness would be asked whether they would assert their Fifth

   Amendment rights in response to all of the questions on the list; (4) if the witness

   answered in the affirmative, the deposition was terminated; and (5) if the witness

   chose to answer any of the questions on the list, the deposition would proceed. Id. at

   *1-2. The court explained that the protocol was designed to insure "that Plaintiffs can
   obtain the discovery they request while reducing, to an extent, the burden to

   deponents and counsel." Id. at *1.

6. During a recent telephone call, counsel for Indivior and End Payor Plaintiffs stated

   that they had no objection to proceeding in accordance with the protocol used in In

   Re Vitamins Antitrust Litigation. I agree that this is a sensible approach.

7. The DOJ' s broad investigation covers areas of inquiry that are clearly relevant to the

   antitrust cases before me and the threat of incrimination faced by the witnesses at

   issue is not speculative. However, Plaintiffs have articulated a legitimate need for the

   information they seek to obtain from the current and former employees they seek to

   depose. After considering the parties' arguments, I conclude that the general protocol

   used in In Re Vitamins Antitrust Litigation represents a reasonable resolution of the

   competing interests raised by the parties - it safeguards the witnesses' Fifth

   Amendment rights, represents an efficient use of the parties' resources and also

   sufficiently allows Plaintiffs to build a record that they state will support their future

   requests for an adverse inference.

8. Lastly, to the extent that the DOJ investigation resolves after the close of fact

   discovery, I will certainly entertain Plaintiffs' request to depose any witness, outside



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         of the fact discovery deadline, who previously invoked their Fifth Amendment

         privilege and, as a result, was not fully deposed.

      WHEREFORE, it is hereby ORDERED that the motion is GRANTED in part and

DENIED in part as follows:

     1. Any witness who is presently or formerly employed by Indivior and who intends to

         assert the Fifth Amendment shall provide Plaintiffs' counsel, no later than 14 business

         days after receiving a notice of deposition, an affidavit or declaration affirming that

         intent, or an affidavit or declaration from his or her attorney expressing that intent.

     2. Plaintiffs shall provide a written list of no more than 40 questions to each of the

         prospective witnesses (from whom affidavits or declarations are received) no later than

         11 business days before the date on which their deposition is noticed.

     3. No later than 7 business days before the date on which their deposition is noticed,

         prospective witnesses shall provide an affidavit or declaration to Plaintiffs' counsel

         indicating whether they intend to invoke the Fifth Amendment in response to all

         questions contained on Plaintiffs' list.

     4. If the prospective witness attests that they intend to invoke the Fifth Amendment in

         response to less than all of the questions on the list, the deposition shall proceed as

         noticed.

     5. If the prospective witness attests that they intend to invoke the Fifth Amendment in

         response to all questions, the deposition shall not proceed.

                                                       BY THE COURT:


                                                       Isl Mitchell S. Goldberg

                                                       MITCHELL S. GOLDBERG, J.


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